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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       No. 21-540 (PLF)
                                             )
TIMOTHY ALLEN HART,                          )
                                             )
                       Defendant.            )
                                             )

                             MOTION TO WITHDRAW AS COUNSEL

       Undersigned counsel respectfully requests that the Court permit her to withdraw as

attorney of record based on the following:

       1. On March 9, 2023, John Pierce notified undersigned counsel that Mr. Hart retained

            him as counsel and no longer wished for undersigned counsel to represent him. Mr.

            Pierce also provided undersigned counsel with a signed letter from Mr. Hart

            acknowledging his wishes to retain Mr. Pierce in this matter.

       2. Based on the above, undersigned counsel respectfully requests that the Court allow

            her to withdraw as counsel of record.



                                             Respectfully submitted,

                                             A. J. KRAMER
                                             FEDERAL PUBLIC DEFENDER

                                                      /s/

                                             Maria N. Jacob
                                             D.C. Bar No. 1031486
                                             Assistant Federal Public Defender
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